                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                       v.                             )      No. 09-4003-03-CR-C-NKL
                                                      )
WILLIAM R. BOYD                                       )
                                                      )
                              Defendant.              )



                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Boyd, by consent, appeared before the undersigned on July 6, 2009, pursuant
to Fed. R. Crim. P. 11, Local Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of
guilty to Count 41 and 44 of the superseding indictment filed on April 3, 2009. After cautioning
and examining the defendant, under oath, in accordance with the requirements of Rule 11, it was
determined that the guilty plea was made with full knowledge of the charges and the
consequences of pleading guilty, was voluntary, and that the offenses to which the defendant has
plead guilty are supported by a factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Boyd be adjudged guilty and have sentence imposed accordingly.
       Dated this 8th day of April, 2010, at Jefferson City, Missouri.



                                               /s/   William A. Knox
                                               WILLIAM A. KNOX
                                               United States Magistrate Judge




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